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        EXHIBIT
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February 12, 2020

The Honorable Nathaniel Gorton
District of Massachusetts
John Joseph Moakley US Courthouse
1 Courthouse way, Boston, MA 02210


Dear Judge Gorton,

It is with immense sadness and great remorse that I write you this letter.

First and foremost, I need to apologize for my actions. I wake up every day with a heavy heart
knowing that I allowed myself to abandon the moral compass that has been so essential to my
life. In the process, I caused harm to other students who have worked so hard to apply and gain
admission in a fair fashion. To those students, I offer my sincerest apologies.

Over the past eleven months, I have spent a lot of time trying to understand how I got here. I
have searched my mind and heart for the better part of the year. I am beyond embarrassed and
ashamed of my actions. My decision to act selfishly and unfairly, and to choose wrong over right
was the worst decision I ever made, and one I will never make again.

From the time I was young, I dreamt of being a mother and helping others in my community. It
was all I ever wanted. Growing up, my mom was always home when I returned from school. I
never forgot how comforting her love was and how secure it made me feel. Even though we
lived in a modest home and my father had a struggling business, we always felt emiched by love.
My mother was my inspiration, my role model. I wanted to be the same for my children.

My greatest joy has always come from creating a warm and loving home. I have been known as
"Mamma J" to all of my kids' friends. I also wanted to inspire children to experience the
rewarding feeling that comes from helping others. I have always felt this feeling is contagious
and once a child experiences that feeling it becomes a core part of his or her identity.

My actions in this case were contrary to all the values I tried to instill in my children and
demonstrate. I completely failed my children, family, friends, and community.

What was I thinking? How could I abandon my moral compass and act against everything I
believe in and have taught my children? I was the mother who calmed my friends when they
panicked about college or their children's grades. A few years ago, I gave a copy of David &
Goliath by Malcom Gladwell to the Director of College Counseling at Sage Hill School. I
suggested that he encourage every parent to read chapter three, which discusses how sending a
child to an elite school for the sake of the name could be detrimental to the child's confidence
and future success. An elite school was not the end all, be all. I believed this. I still do.

But when the time came for me to play by the rules, I cheated. I had always thought of myself as
a considerate person, but I disregarded the impact that my actions would have on others. I had
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always thought of myself as a caring person, but my selfish choices in this case make me
question that. I used to think of myself as a strong person, but I was weak.

I feel a deep sense of sonow and heartache. I hope those affected by my actions will forgive me,
but I don't expect them to. I am shaken to my core. But I have a clear vision going forward. I
will further deepen my efforts to continue to help others for the remainder of my life.

Sincerely,



Michelle J anavs
